Case 2:19-cv-09650-PSG-MRW Document 19 Filed 02/27/20 Page 1 of 1 Page ID #:75



                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES − GENERAL



 Case No. 2:19−cv−09650−PSG−MRW                                                  Date   2/27/2020
 Title    CARMEN JOHN PERRI V. R SHALLY, INC. ET AL


 Present: The Honorable PHILIP S. GUTIERREZ
                 Wendy K. Hernandez                                     Not Reported
                    Deputy Clerk                                        Court Reporter

           Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                    Not Present                                          Not present

 Proceedings (In Chambers): VACATING SCHEDULING CONFERENCE
 On the Court’s own motion, the Scheduling Conference presently set for hearing on 03/02/20
 is VACATED, and the following dates are hereby set. Please review the Court’s trial order
 for further details.

  Last Day to Add Parties & Amend Pleadings:                          3/2/2020
  (Doe defendants are dismissed as of cut−off to add parties)
  Discovery Cut−Off:                                                  9/29/2020
  Last Day to File Motion:                                            10/13/2020
  Opening Expert Witness Disclosure:                                  10/06/20
  [See F.R.Civ.P. 26(a)(2)]
  Rebuttal Expert Witness Disclosure:                                 11/03/20
  Expert Discovery Cut−Off:                                           12/01/20
  Final Pretrial Conference (2:30 p.m.):                              12/21/2020
  Court Trial (9:00 a.m.):                                            1/5/2021
  Estimated Length:                                                   2 days




                                                                              Initials of Preparer: wm



 CV−90                                    CIVIL MINUTES−GENERAL                                Page 1 of 1
